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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 1:05-CR-18
                                                              Honorable David W. McKeague
ANTHONY ANDERSON,

               Defendant.

                                              /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on May 5, 2005, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Anthony Anderson is charged in two counts of a multi-count Indictment

with being a felon in possession of a firearm and with distributing 5 grams or more of crack cocaine

within 1,000 feet of a school. I reviewed the facts with the defendant which show that he committed

the offense charged. Briefly stated, those facts show that on or about August 5, 2004, the defendant,

who had previously been convicted of a felony offense (a 1997 conviction for possession with intent

to deliver cocaine), was in possession of a .32 caliber revolver manufactured outside of the state of

Michigan (Count 8). The facts further show that on or about August 26, 2004 in Grand Rapids,




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defendant participated in a sale of approximately 14 grams of crack cocaine at an apartment house

which was easily within 1,000 feet of two elementary schools (Count 11).

               On the basis of this record, I found that defendant was competent to enter a plea of

guilty and that his plea was knowledgeable and voluntary with a full understanding of each of the

rights waived by the defendant, that the defendant fully understood the nature of the charge and the

consequences of his plea, and that the defendant's plea had a sufficient basis in fact which contained

all of the elements of the offense charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the plea of guilty, subject to final acceptance of the plea by

the District Judge, and I specifically reserved acceptance of the plea agreement for the District Judge.

I ordered the preparation of a presentence investigation report, and directed that a transcript of the

proceedings be prepared and filed with the Clerk of the Court.

                                          Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's plea of guilty

to Counts 8 and 11 of the Indictment be accepted, that the court adjudicate the defendant guilty of

that charge, and that the written plea agreement be accepted at, or before, the time of sentencing.



Dated: May 5, 2005                             /s/ Hugh W. Brenneman, Jr.
                                               Hugh W. Brenneman, Jr.
                                               United States Magistrate Judge




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                                    NOTICE TO PARTIES

              You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b).




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